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Counsel to Defendants Automatic
Data Processing, Inc. and ADP, Inc.

*Motions for Pro Hac Vice admission forthcoming.

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY
                                                   Case No. 2:24-cv-07635-JKS-LDW
DALE YLITALO, individually and on behalf
of all others similarly situated,                  Hon. Jamel K. Semper
                                                   Hon. Leda Dunn Wettre
                        Plaintiff,

                   v.

AUTOMATIC DATA PROCESSING, INC.,
ADP, INC., and AMERICAN CENTURY
INVESTMENT SERVICES, INC.,

                        Defendants.
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                  DEFENDANT AUTOMATIC DATA PROCESSING, INC.’S
                       CORPORATE DISCLOSURE STATEMENT

         Pursuant to Rule 7.1(a)(1) of the Federal Rules of Civil Procedure, Defendant Automatic Data

Processing, Inc. by and through its undersigned counsel, discloses that:

         1.     Automated Data Processing, Inc., is a publicly held corporation and has no parent

corporation, and no entity that owns ten (10) percent or more of Automated Data Processing, Inc.’s

stock.

Dated: July 31, 2024                          Respectfully submitted,
                                              VENABLE LLP

                                        By: /s/ Michael A. Guerra
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                               CERTIFICATE OF SERVICE

       I certify that on this day, July 31, 2024, I served the above document named

“Defendant Automatic Data Processing, Inc.’s Corporate Disclosure Statement,” which is dated

July 31, 2024, on counsel to Plaintiff Dale Ylitalo via ECF filing and on counsel to

Defendant American Century Investment Services, Inc. by email.

Dated: July 31, 2024

                                                VENABLE LLP

                                            By: /s/ Michael A. Guerra
                                                 Michael A. Guerra (No. 089092013)
